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     November 9, 2021


     VIA ECF
     The Honorable André M. Espinosa
     United States Magistrate Judge
     United States District Court
     District of New Jersey
     50 Walnut Street,
     Newark, N.J. 07102

                          Re: Sharma v. Liu, 20-cv-20268 (MCA)(AME)


     Dear Judge Espinosa:

             We represent Defendant Vivian Liu in the above-referenced civil matter. We
     write to request an extension of 30 days to respond to Plaintiff’s Complaint (D.E. 1-1).
     This is the first request for an extension of time to file a responsive pleading, and Plaintiff
     consents to this extension.

            Via Order dated October 29, 2021, the Court denied Ms. Liu’s motion to dismiss.
     Thus, Ms. Liu is required to file her Answer on or before November 12, 2021. FRCP 12
     (4)(A). Ms. Liu retained us on this matter today. See Substation of Counsel Form, dated
     November 9, 2021 (D.E. 27). Thus, we request an extension of 30 days to December 12,
     2021 to provide us enough time to review relevant documents and prepare Ms. Liu’s
     responsive pleading.

            We thank the Court for its time and attention to this matter.

                                                    Sincerely,

                                                    s/Robert Fantone
                                                    Robert Fantone


     cc:    All counsel of record via ECF
                                                      So Ordered.
                                                      Dated: November 12, 2021
                                                      /s/ André M. Espinosa
                                                      ANDRÉ M. ESPINOSA
                                                      United States Magistrate Judge
